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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS




 In re: NEURONTIN MARKETING AND                    MDL Docket No. 1629
        SALES PRACTICES LITIGATION

                                                   Master File No. 04-10981
                                                   Judge Patti B. Saris
 THIS DOCUMENT RELATES TO:


 THE GUARDIAN LIFE INSURANCE
 COMPANY OF AMERICA v. PFIZER INC.,
 04 CV 10739 (PBS) and

 AETNA, INC. v PFIZER INC.,
 04 CV 10958 (PBS)


                    MOTION TO ADMIT COUNSEL PRO HAC VICE

      Pursuant to Local Rule 83.5.3 and this Court’s July 29, 2003 Case Management

Order, the undersigned counsel, Theodore M. Hess-Mahan, hereby moves that this Court

enter an Order granting leave to Linda P. Nussbaum, Cohen, Milstein, Hausfeld & Toll,

P.L.L.C., 150 East 52nd Street, 30th Floor, New York, NY 10022-6017, Tel: (212) 838-7797,

Fax: (212) 838-7745, e-mail: lnussbaum@cmht.com, to appear on behalf of Plaintiffs and

practice before this Court in the above-captioned action.

      As grounds for this motion, the undersigned represents the following:

      1.       Ms. Nussbaum was admitted to the bar of the State of New York in 1978 and

the District of Columbia bar in 2003. She has also been admitted to practice in the Unites

States District Courts for the Southern and Eastern Districts of New York since 1979.

      2.       There are no disciplinary proceedings pending against Ms. Nussbaum as a

member of the bar in any jurisdiction.
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      3.       MS. Nussbaum has represented to the undersigned counsel that she is

familiar with the Local Rules of the United States District Court for the District of

Massachusetts.

      4.       In further support of this motion, Ms. Nussbaum has submitted herewith her

Certificate of Good Standing as Required by Local Rule 83.5.3.

      WHEREFORE, the undersigned counsel respectfully moves that Ms. Nussbaum be

admitted to practice before this Court pro hac vice.

Dated: March 14, 2005                           Respectfully submitted



                                                /s/Theodore M. Hess-Mahan
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                                                Foundation Hospitals




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